




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1215-12






EX PARTE ALFREDO OLVERA, Appellant






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


COLLIN COUNTY






	Per curiam.


O P I N I O N 




	Appellant pleaded guilty to assault of a public servant.  The trial court deferred an
adjudication of guilt and placed Appellant on supervision for five years.  He was later denied
reentry into the United States.

	Appellant filed a writ application pursuant to Art. 11.072 alleging that he received
ineffective assistance of counsel under Padilla v. Kentucky, 559 U.S. 356 (2010).  The trial
court denied relief.  On appeal, the Court of Appeals reversed, holding that counsel was
ineffective under Padilla. Ex parte Olvera, No. 05-11-01349-CR, 2012 Tex. App. LEXIS
4896 (Tex. App. - Dallas June 20, 2012) (not designated for publication).

	The State has filed a petition for discretionary review of this decision.  The U.S.
Supreme Court recently held that, under Teague v. Lane, 489 U.S. 288 (1989), Padilla does
not have retroactive effect.  Chaidez v. United States, __ U.S. __, 133 S. Ct. 1103 (2013). 
Today, we adopted that Court's reasoning as a matter of state law in Ex parte De Los Reyes,
No. PD-1457-11, __ S.W.3d __ (Tex. Crim. App. March 20, 2013).  

	The Court of Appeals in the instant case did not have the benefit of our opinion in De
Los Reyes.  Accordingly, we grant the State's petition for discretionary review, vacate the
judgment of the Court of Appeals, and remand this case to the Court of Appeals in light of 
De Los Reyes.



DATE DELIVERED: March 20, 2013


DO NOT PUBLISH	


